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                               United States District Court
                                              DISTRICT OF COLUMBIA


     United States of America
                                                           )
                           Plaintiffs)                     )
                                                            )
     vs.                                                   )        Case Number:    21-CR-00399-RDM
      Roman Sterlingov                                     )
                          Defendants)

                                   DECLARATION FOR PRO HAC VICE ADMISSION
                                  (to be attached to Motion for Pro Hac Vice Admission)

            In accordance with LCvR 83.2 (c)(2) and LCvR 44.1 (c)(2), I hereby declare that
     the answers to the following questions are complete, true, and correct:
     1.    Full Name: Tauseef Saeed Ahmed

     2.    State bar membership number: fqew York: 5614508
     3.    Business address, telephone and fax numbers:
           4004 Jerusalem Ave, Seaford, NY 11783
     4. List all state and federal courts or bar associations in which you are a member "in good standing”
        to practice law:

           New York, New Jersey, EDNY, SDNY, NDNY
     5.    Have you been denied admission, disbarred, suspended from practice, reprimanded, denied “in
           good standing” status, or otherwise disciplined by any court, bar association, grievance committee
           or administrative body? Yes              No0
     6.    I lave any proceedings which could lead to any such disciplinary action been instituted against you

           in any such bodies?      Yes          No 0
           (Please attach a statement explaining any “Yes” answers to questions 5 or 6.)

     7.    List the number of times the attorney has been admitted pro hac vice into this court w ithin the last
           two years. 0

           (If your principal office is located in the District of Columbia, please answer questions 8 and 9.)

     8.    Are you a member of the DC Bar? No

     9.    Do you have a pending application for admission into USDC for the District of Columbia? No
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        In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to appear as sole or
lead counsel in a contested evidentiary hearing or trial on the merits further certifies that he/she:

                                              (CHECK ALL ITEMS THAT APPLY)

  1.   [     I   has previously acted as sole or lead counsel in a federal district court or the Superior Court of the District of
                 Columbia or a state trial court of general jurisdiction in a contested jury or bench trial or other contested
                 evidentiary hearing in which testimony was taken in open court and an order or other appealable judgment was
                 entered. [LCvR 83.2(b)(l)/LCrR 44.1 (b)(1)]; OR

  2.             has participated in a junior capacity in an enure contested jury or bench trial in a federal district court or the
                 Superior Court of the District of Columbia or a state trial court of general jurisdiction. [ICvR 83.2(b)(2)/LCrR
                 44.1 (b)(2)]; OR



   j I       1   has satisfactorily completed a continuing legal education trial advocacy course of at least 30 hours sponsored
     I       1   by the District of Columbia Bar or accredited by a State Bar. [LCvR 83.2(b)(3)/LCrR 44.1(b)(3)]




           I declare under penalty of perjury that the foregoing is true and correct.

             9/10/2023                                                    —
                 DATE                                                                   SIGNATURE OF ATTORNEY




                                                                   2
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AO 136 (Rev. 10/13) Certificate of Good Standing
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                               United States District Court
                                                         for the
                                             Eastern District of New York

                                   CERTIFICATE OF GOOD STANDING




         I,                                 Brenna B. Mahoney                                       , Clerk of this Court,


certify that                   Tauseef Saeed Ahmed                       , Bar #                5614508


was duly admitted to practice in this Court on            09/13/2019               , and is in good standing as a member


of the Bar of this Court.


Dated at
               Central Islip                                                 on                             08/28/2023
                                        (Location)                                                (Date)




                     Brenna B. Mahoney
                       CLERK OF COURT
                                                                                                    , DEPUTY CLERK
                                                                   Alison Fortunato




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